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                                       [Case caption follow on next page]



     Joint Stipulation To Change Time                                             5:22-cv-00501-BLF
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                                   UNITED STATES DISTRICT COURT
 1
 2                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

 3                                         SAN JOSE DIVISION
 4
       NATIONAL ASSOCIATION FOR GUN                       Case No. 5:22-cv-00501-BLF
 5     RIGHTS, INC., a non-profit corporation, and
       MARK SIKES, an individual,                         JOINT STIPULATION AND PROPOSED
 6                                                        ORDER CONTINUING HEARING ON
 7                   And                                  DEFENDANTS’ MOTION TO DISMISS
                                                          (ECF # 95) TO AUGUST 24, 2023
 8     HOWARD JARVIS TAXPAYERS ASSN., a
       nonprofit corporation, SILICON VALLEY              Courtroom: 3-5th Floor
 9     TAXPAYERS ASSN., a nonprofit corporation,          Judge: Honorable Beth Labson Freeman
10     SILICON VALLEY PUBLIC
       ACCOUNTABILITY FOUNDATION, a                       Complaint Filed: January 25, 2022
11     nonprofit corporation, JIM BARRY, an
       individual, and GEORGE ARRINGTON, an
12     individual,
13                   Plaintiffs,
14                   v.
15
       CITY OF SAN JOSE, a public entity,
16     JENNIFER MAGUIRE, in her official capacity
       as City Manager of the City of San Jose, and the
17     CITY OF SAN JOSE CITY COUNCIL,
18
19                   Defendants.

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     Joint Stipulation To Change Time                                            5:22-cv-00501-BLF
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 1          SUBJECT TO THE COURT’S APPROVAL, and pursuant to L.R. 7-7(b), the Plaintiffs—
 2   National Association For Gun Rights, Inc., Mark Sikes, Howard Jarvis Taxpayers Assn., Silicon Valley
 3   Taxpayers Assn., Silicon Valley Public Accountability Foundation, Jim Barry, and George Arrington—
 4   and Defendants—City Of San Jose, Jennifer Maguire, in her official capacity as City Manager of the
 5   City of San Jose, and the City Of San Jose City Council—HEREBY STIPULATE AND AGREE that
 6   the hearing on Defendants’ motion to dismiss (ECF #95), currently set for June 15, 2023, at 9:00 a.m.
 7   be continued to August 24, 2023, at 9:00 am.
 8                                        [Signatures on Next Page]
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     Joint Stipulation To Change Time                                                 5:22-cv-00501-BLF
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 1
 2   Dated: April 11, 2023              DHILLON LAW GROUP INC.
 3
 4                                                   By: _/s/ Michae A. Columbo_________
                                                     Harmeet K. Dhillon
 5
                                                     Michael A. Columbo
 6                                                   Mark P. Meuser
                                                     David A. Warrington (pro hac vice)
 7
 8   Dated: April 11, 2023              HOWARD JARVIS TAXPAYERS FOUNDATION
 9
10                                                   By: _/s/ Timothy A. Bittle
                                                     Jonathan M. Coupal
11
                                                     Timothy A. Bittle
12                                                   Laura E. Dougherty

13
     Dated: April 11, 2023              COTCHETT, PITRE & McCARTHY, LLP
14
15
                                                     By: _/s/ Tamarah P. Prevost_________
16                                                   Joseph W. Cotchett
17                                                   Tamarah P. Prevost
                                                     Andrew F. Kirtley
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     Joint Stipulation To Change Time                                             5:22-cv-00501-BLF
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                               DECLARATION OF MICHAEL A. COLUMBO
 1
 2          I, Michael A. Columbo, declare that counsel have met and conferred about this stipulation and
 3   that counsel whose signatures are reflected on the preceding page gave approval to this stipulation.
 4
 5          Pursuant to Local Rule 6-2, I declare that the reasons for the requested extension of time have
 6
     to do with accommodating my schedule, as I will be out of the country on the date that the hearing on
 7
     Defendants’ Motion to Dismiss (ECF # 95) was scheduled. I further declare that the only previous
 8
     time modification in this case was a two-week extension for responses and replies relating to this
 9
     same motion (ECF # 95), and that I would describe the effect of the time modification requested here
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     as being minimal.
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12
            I declare under penalty of perjury under the laws of the United States of America that the
13
     foregoing is true and correct. Executed on April 13, 2023.
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                                                            /s/ Michael A. Columbo
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     Joint Stipulation To Change Time                                                   5:22-cv-00501-BLF
